Case 2:04-cr-20320-SH|\/| Document 71 Filed 09/02/05 Page 1 of 2 Page|D 93

 

IN THE UNITED sTATEs DISTRICT coURT 'HLED m “ D~C-
FoR THE MZ;FEESR§ER§ISDTI§ICSTIO(§F TENNESSEE 05 SEP _2 PH w 20
“MM~GQULD
UNITED sTATEs oF AMERICA, CLEE;U\§ "W:`;HC€UT
vs. No. 04_20320-Ma
ERIc JOHNSON,
Defendant.

 

ORDER GRANTING MOTION TO WITHDRAW AND
REFERRING MATTER TO MAGISTRATE JUDGE FOR APPOINTMENT OF COUNSEL

 

Before the court is the September l, 2005, motion to
withdraw filed by appointed counsel for the defendant, Stephen R.
Leffler. For good cause shown, the motion is granted and Mr.
Leffler is allowed to withdraw from representing the defendant in
this matter. The matter is referred to the magistrate judge for
appointment of counsel for the defendant pursuant to the Criminal

Justice Act.

 

It is so ORDERED this day of Septe;;;r, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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with R.\|e 55 and/or 32!b) FHCrP on ___M:l /

 

 

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chcrable Samuel Mays
US DISTRICT COURT

